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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

SARAH CARBONI, A Minor, By and)                          CASE NO. 8:07CV308
Through Her Parents and Next  )
Friends, BRANDI CARBONI and   )
STEPHEN CARBONI,              )
                              )                         ORDER OF DISMISSAL
                Plaintiff,    )
                              )
          v.                  )
                              )
MARY LANNING MEMORIAL         )
HOSPITAL ASSOCIATION, REBECCA )
WORDEN, M.D., and MOSCATI     )
HEALTH CENTER, P.C.,          )
                              )
                Defendants.   )

      This matter is before the Court on the parties’ Stipulation to Dismiss with Prejudice

(Filing No. 137). The stipulation complies with the requirements of Fed. R. Civ. P.

41(a)(1)(A)(ii), and the Court finds that it should be approved. Accordingly,

      IT IS ORDERED:

      1.     The parties’ Stipulation (Filing No. 137) is approved, and the relief requested

             therein is granted;

      2.     The Amended Complaint and all claims in this action are dismissed with

             prejudice; and

      3.     The parties shall pay their own costs and attorneys’ fees.



      DATED this 3rd day of December, 2008.
                                                BY THE COURT:


                                                s/Laurie Smith Camp
                                                United States District Judge
